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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:                                    )
                                          )
11380 SMITH RD LLC                        )      Case No. 18-10965 TBM
EIN XX-XXXXXXX                            )      Chapter 11
                                          )
Debtor.                                   )


     ORDER AUTHORIZING EMPLOYMENT OF MERLIN LAW GROUP, P.A. AS
             SPECIAL COUNSEL FOR DEBTOR-IN-POSSESSION


        THIS MATTER is before the Court on the "Application to Employ Merlin Law
Group, P.A. as Special Counsel for Debtor-in-Possession" (Docket No. 66, the
"Application"). The Court has reviewed the Debtor’s Application and its file with respect
to this matter. The Debtor asserts it has provided proper notice of the Debtor’s Application
pursuant to L.B.R. 9013-1 and no objections have been filed thereto. Based on the
representations made in the Application, which are uncontested by any party in interest,
the Court:

        HEREBY FINDS that the employment of Merlin Law Group, P.A. as special counsel
is in the best interest of Debtor, and that the employment is not forbidden under the
Bankruptcy Code and Rules; and therefore the Court

      HEREBY ORDERS, that Merlin Law Group, P.A. is authorized to represent Debtor
as special counsel in the above-captioned case with respect to the proceeding pending in
the United States District Court for the District of Colorado; and it is

       FURTHER ORDERED that Merlin Law Group, P.A. shall not be compensated nor
 reimbursed for costs from Debtor, except after application to and approval by this Court.

DATED: April 26, 2018

                                          BY THE COURT:



                                          ________________________________
                                          Thomas B. McNamara,
                                          U.S. Bankruptcy Judge
